          Case 1:21-cr-02032-SMJ    ECF No. 13    filed 09/02/21   PageID.18 Page 1 of 2




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 4
     Attorney for Defendant
 5   Thomas Alex Morrison, Jr.
 6
 7
                          UNITED STATES DISTRICT COURT
 8                       EASTERN DISTRICT OF WASHINGTON
                           The Honorable Salvador Mendoza, Jr.
 9
10   United States of America,
11                                   Plaintiff,        No. 1:21-CR-2032-SMJ
12
             v.                                        Notice of Appearance
13
     Thomas Alex Morrison, Jr.,
14
                                   Defendant.
15
16
             Please take notice that Paul E. Shelton of the Federal Defenders of Eastern
17
     Washington and Idaho hereby enters his appearance as counsel of record in this
18
19   matter. All future correspondence and court filings should be forwarded directly to

20   the address listed above.
21   //
22
     //
23
24
     Dated: September 2, 2021.
25

     Notice of Appearance: 1
       Case 1:21-cr-02032-SMJ      ECF No. 13   filed 09/02/21   PageID.19 Page 2 of 2




 1
                                                 By s/ Paul E. Shelton
 2                                                  Paul E. Shelton, 52337
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 8                                  Certificate of Service

 9         I hereby certify that on September 2, 2021, I electronically filed the foregoing
10   with the Clerk of the Court using the CM/ECF System which will send notification of
11   such filing to the following: Michael D. Murphy, Assistant United States Attorney.
12
                                                 s/ Paul E. Shelton
13                                               Paul E. Shelton
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     Notice of Appearance: 2
